        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 1 of 16




                                   STATEMENT OF FACTS
        Your affiant, Jason R. Higley, is a Senior Special Agent with the U.S. Department of
Justice Office of the Inspector General (“DOJ-OIG”) and have been since May 2010. From
October 2004 to May 2010 I was a Special Agent with DOJ-OIG. Prior to that I was a Special
Agent with the U.S. Secret Service. During my approximately 18 years as a federal law
enforcement officer, I have gained experience with Presidential, Vice-Presidential, and other
dignitary protective operations, as well as significant experience investigating crimes related to
public corruption, conflicts of interest, fraud, conspiracy against rights, obstruction of justice,
and false statements. Additionally, since August 2009, I have been a digital forensic examiner
and have conducted forensic imaging and analysis of over 150 computer and mobile devices. I
am currently assigned to an investigation and prosecution of Mark Sami IBRAHIM’s,
(hereinafter “IBRAHIM”) activities at the United States Capitol on January 6, 2021. As a Senior
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.
       Unless otherwise stated, the information in this Affidavit is either personally known to
me, has been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact
known by me or the United States. The dates and times listed in this Affidavit should be read as
“on or about” dates and times.

        The U.S. Capitol is secured 24 hours a day by the U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
the U.S. Capitol Police. Only authorized people with appropriate identification are allowed
access inside the U.S. Capitol. On January 6, 2021, the exterior plaza and other areas of the U.S.
Capitol Grounds, including the Peace Monument at First Street and Pennsylvania Avenue NW,
were also closed to members of the public. Temporary security barriers and signs indicated that
these areas were closed to the public.
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 2 of 16




        The picture below depicted in Figure One demonstrates the location of barriers that were
set up around the Peace Monument on January 6, 2021. The map pictured below at Figure Two
demonstrates the Capitol Grounds, including the Peace Monument.




                     Figure One                                     Figure Two
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and the exterior doors and windows of the U.S. Capitol were locked
or otherwise secured. Members of the U.S. Capitol Police were present and attempting to
maintain order, keep the crowd away from the Capitol building, and prevent the crowd from
entering the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 3 of 16




        Shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of the U.S. Capitol Police, as others
in the crowd encouraged and assisted those acts. Shortly thereafter, at approximately 2:20 p.m.
members of the United States House of Representatives and United States Senate, including the
President of the Senate, Vice President Mike Pence, were instructed to—and did—evacuate the
chambers. Accordingly, the joint session of the United States Congress was effectively
suspended until shortly after 8:00 p.m. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the sessions resumed.
       During national news coverage of the aforementioned events, as well as video footage
which appeared to be captured on mobile devices of persons present on the scene, depicted
evidence of violations of local and federal law, including scores of individuals inside the U.S.
Capitol building without authority to be there.
        As detailed below, during the course of the investigation into the events of January 6,
2021, law enforcement learned that Mark Sami IBRAHIM of Orange County, California
traveled to the District of Columbia, and participated in the events at the U.S. Capitol on January
6, 2021, and was on U.S. Capitol Grounds, in restricted areas, without authority to be there.
        On January 6, 2021, IBRAHIM was a Special Agent with the Drug Enforcement
Administration and at all times relevant to the below chronology, was carrying his DEA-issued
firearm. IBRAHIM was a probationary employee of the DEA and had, several weeks prior to
the events of January 6, 2021, given notice to the DEA of his intention to resign. On January 6,
2021, IBRAHIM was on personal leave from the DEA. He was not on duty for the DEA and had
no role as a law enforcement officer on the Capitol Grounds.
        At approximately 12:03 PM, IBRAHIM traveled from Triangle, VA to Washington, DC,
arriving at approximately 12:30 PM.
        At approximately 12:53 PM, the crowd began to break down the fencing and bicycle-rack
style barricades at the foot of the U.S. Capitol Grounds and enter the Grounds. Below is a frame
taken from a video posted to the internet at approximately 12:53 PM showing the fencing and the
cordoned-off area. Signs indicating that the area was closed by order of the U.S. Capitol Police
Board were posted at regular intervals; they can be identified as the white squares on the fencing
in the image in Figure Three below. A close-up of a sign is also attached below as Figure Four.
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 4 of 16




                   Figure Three                                      Figure Four
        Historical cell-site data, shown in Figure Five below, shows IBRAHIM arriving in the
area of the at the U.S. Capitol Grounds at approximately 1:06 PM.




                                          Figure Five
       At approximately 1:09 PM, IBRAHIM posed for several photographs in which he flashed
and displayed his DEA badge and firearm. IBRAHIM’s friend took these photos at IBRAHIM’s
request. Figure six shows one of these photographs.
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 5 of 16




                                          Figure Six
     The photographs are of such high resolution that the serrations on the slide of
IBRAHIM’s DEA firearm are visible. Figure Seven is a crop of the photo above showing
IBRAHIM’s DEA badge and firearm.
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 6 of 16




                                       Figure Seven
       At approximately 1:45 PM, a video which was subsequently posted to the internet shows
IBRAHIM, carrying a flagpole bearing two flags back-to-back. The first flag has a white
background with a blue solid five-pointed star and the words “LIBERTY OR DEATH” inscribed
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 7 of 16




on it (commonly referred to and hereinafter, a “Troutman Flag”). The second flag has 13
alternating red-and-white stripes with 13 white stars arranged in a circle in a field of blue in the
upper left corner canton (commonly known as, and hereinafter, a “Betsy Ross Flag”). The
location where IBRAHIM can be seen is approximately 400 feet inside the first set of fencing
and barricades shown above. A second cordoned-off area with similar fencing can be seen in the
background behind IBRAHIM. A frame from this video is posted below as Figure Eight.




                                           Figure Eight
        At approximately 1:57 PM, the barricades on the northeast side of the Capitol were
pulled apart by the crowd. A video posted to the internet shows the crowd pulling apart the
barricades; a frame from this video is attached below as Figure Nine.




                                            Figure Nine
       At 1:59 PM, a video was posted to the internet in which IBRAHIM and a relative can be
seen waking on the lawn of the Capitol Grounds along the north side of the Capitol Building
heading toward the northeast side of the Capitol. At 2:02 PM security camera footage shows
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 8 of 16




IBRAHIM and his relative near the northeast side of the Capitol grounds. A frame from this
security camera footage is included as Figure Ten below. IBRAHIM is identified with an arrow
labeled “2” and his relative is identified with an arrow labeled “1” in the photo below.




                                         Figure Ten
        Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 9 of 16




         At 2:06 PM, IBRAHIM, who had been participating in a WhatsApp group chat with at
least five other law enforcement officers, posted a photograph of himself standing next to one of
the bicycle-style barricades that had been pulled apart by the crowd several minutes earlier. That
photograph is attached below as Figure Eleven.




                                          Figure Eleven


        A video posted to the internet at approximately 2:06 PM captured IBRAHIM moving
with the crowd, inside the separated barricades near the steps of the Senate, with the Troutman
side of his flag visible.
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 10 of 16




        At approximately 2:03 PM, IBRAHIM posed for several photographs in which he again
flashed and displayed his DEA badge and firearm. Figure Twelve below depicts one of those
photos.




                                  Figure Twelve
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 11 of 16




        At approximately 2:10 PM, IBRAHIM took a video of himself, which he subsequently
posted to the WhatsApp group chat, standing in the crowd on a patch of grass above the United
States Capitol visitor’s center between the East Portico of the Capitol and the Senate. This
location is approximately 180 feet inside the east barricades that had recently been overrun. Near
the end of the video, the camera pans around to rest on IBRAHIM’s face. Two frames from this
video are attached below as Figures Thirteen and Fourteen.




                                         Figure Thirteen




                                         Figure Fourteen
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 12 of 16




      At approximately 2:30 pm, one of the other law enforcement officers participating in the
WhatsApp group chat with IBRAHIM posted “Question Mark, you are carrying your duty
weapon and your badge/creds? I need to know this mark”
        Cell-site location data, shown in Figure Fifteen below, indicates that IBRAHIM remained
on the east side of the Capitol until after 2:45 PM.




                                     Figure Fifteen
        At approximately 2:45 PM, Ashli Babbitt was shot by a law enforcement officer while
she was attempting to enter a location within the U.S. Capitol Building. She was taken from the
Capitol Building by fire and EMS at 3:00 PM, she was transported within steps of IBRAHIM
and loaded into an ambulance at 3:01 PM. IBRAHIM’s friend, who was standing next to
IBRAHIM, videotaped her as she was being moved past them. IBRAHIM subsequently posted
that video to the WhatsApp group chat.
        Shortly after 3:00 PM, IBRAHIM, his friend, and his relative continued their clockwise
circuit around the Capitol Grounds and arrived at the Peace Monument in the Peace Circle at
First Street, NW, and Pennsylvania Avenue NW, which is located on the Capitol Grounds.
        IBRAHIM then climbed up onto the Peace Monument. While on the Peace Monument,
IBRAHIM took a video of himself delivering a monologue, and ended the video showing the
scene from on the Peace Monument. Two frames from this video are attached below as Figures
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 13 of 16




Sixteen and Seventeen below. The bicycle racks which had surrounded the Peace Monument
earlier in the day can be seen in Figure Seventeen below.




              Figure Sixteen                                  Figure Seventeen
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 14 of 16




        While standing on the Peace Monument, IBRAHIM posed for several photographs. One
of those photographs, taken at approximately 3:27 PM is attached below as Figure Eighteen.




                                      Figure Eighteen
       At approximately 3:29 pm, after climbing down from the Peace Monument, IBRAHIM
again posed for several photographs while displaying his DEA badge and firearm.




                                   Figure Nineteen
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 15 of 16




        On March 15, 2021, pursuant to an investigation being conducted by the Office of the
Inspector General, United States Department of Justice, and the United States Attorney’s Office
for the District of Columbia, your affiant conducted a voluntary interview with IBRAHIM in the
presence of his attorney, via video teleconference. The interview was recorded. Your affiant
admonished IBRAHIM that that the most important thing for him was not to lie in the interview.
Your affiant told IBRAHIM that he could, as he knew, be charged with lying to a Federal Agent,
or obstructing the investigation. IBRAHIM admitted to being at the U.S. Capitol on January 6,
2021 and acknowledged that he had his DEA credentials with him at the Capitol, as well as his
DEA badge and firearm. IBRAHIM denied that he displayed or exposed his DEA badge and
firearm at the Capitol. Specifically, IBRAHIM stated “I had my creds. I had my firearm, and my
badge on me . . . But never exposed . . . Not that I know of.” During his interview, IBRAHIM
acknowledged hearing the tear gas canisters going off—he said he heard the booms.
        IBRAHIM said he went to the Capitol with his friend and his relative. IBRAHIM said he
was asked to attend by his friend, so he decided to go. IBRAHIM said he went along with his
friend, who had been asked by the FBI to document the event, and that he went along with his
friend to assist with that effort.
        Your affiant also interviewed IBRAHIM’s friend. According to the friend, IBRAHIM
crafted this story about how his friend was at the Capitol to assist the FBI and that IBRAHIM
was there helping him. IBRAHIM’s friend told your affiant that he was not there in any formal
capacity for the FBI and that the FBI was not giving him directions or marching orders. He said
that IBRAHIM crafted this story in an effort to “cover his ass.” According to IBRAHIM’s friend,
IBRAHIM went to the rally in order to promote himself—IBRAHIM had been thinking about his
next move after leaving the DEA and wanted the protests to be his stage for launching a “Liberty
Tavern” political podcast and cigar brand.
        I have fully identified IBRAHIM of Orange County, California as Mark Sami
IBRAHIM. In addition to interviewing IBRAHIM via video teleconference, during which he
identified himself as the individual in several of the photographs and videos referenced above, I
have reviewed his motor vehicle photograph, his DEA credentials photograph, and other
identifying information and records that confirm that the individual depicted in the above-
referenced videos and photographs at the U.S. Capitol on January 6, 2021 is Mark Sami
IBRAHIM. Both his friend and a relative have confirmed the identity of IBRAHIM, his
presence on the U.S. Capitol Grounds, as well as his conduct that day.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
Mark Sami IBRAHIM violated 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A), which make it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; and (b)(1)(A) the person, during and in relation to the offense, uses or carries a deadly or
dangerous weapon or firearm. For purposes of Section 1752, a “restricted building or grounds”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
       Case 1:21-mj-00516-ZMF Document 1-1 Filed 07/06/21 Page 16 of 16




        Your affiant submits there is also probable cause to believe that Mark Sami IBRAHIM
violated 40 U.S.C. §§ 5104(d) and (e)(1)(A)(i), which make it a crime to step or climb on,
remove, or in any way injure any statue, seat, wall, fountain, or other erection or architectural
feature, or any tree, shrub, plant, or turf, in the Grounds and carry or have readily accessible to
any individual on the Grounds or in any of the Capitol Buildings a firearm, a dangerous weapon,
explosives, or an incendiary device.
        Your affiant submits there is also probable cause to believe that Mark Sami IBRAHIM
violated 18 U.S.C. § 1001, which makes it a crime to, in any matter within the jurisdiction of the
executive, legislative, or judicial branch of the Government of the United States, knowingly and
willfully (1) falsify, conceal, or cover up by any trick, scheme, or device a material fact; or (2)
make any materially false, fictitious, or fraudulent statement or representation by, among other
statements, falsely stating that he never displayed his badge or firearm.




                                              _______________________________
                                              JASON R. HIGLEY
                                              SENIOR SPECIAL AGENT
                                              U.S. Department of Justice,
                                              Office of the Inspector General

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6th day of July 2021.                           2021.07.06
                                             ___________________________________
                                                                18:55:00 -04'00'
                                             ZIA M. FARUQUI
                                             U.S. MAGISTRATE JUDGE
